                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )      Case No. 15-00202-10-CR-W-GAF
                                            )
AARON M. ANDERSON,                          )
                                            )
                      Defendant.            )

                                                ORDER

       On January 21, 2016, defendant entered a plea of guilty to Count Five of the Superseding

Indictment filed on October 1, 2015, before United States Magistrate Judge John T. Maughmer. On

January 21, 2016, Judge Maughmer issued his Report and Recommendation (Doc. 114). Objections

were due on or before February 8, 2016. No objections were filed.

       Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable

and voluntary and that the offense charged is supported by an independent basis in fact containing each

of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its

own Opinion and Order the Report and Recommendation of United States Magistrate Judge John T.

Maughmer.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is

adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the

date and time of sentencing.

       SO ORDERED.
                                                   s/ Gary A. Fenner
                                                   GARY A. FENNER, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: February 9, 2016



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